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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
KUSKOKWIM RIVER INTER-TRIBAL                 )         Case No.: 1:22-cv-54 (SLG)
FISH COMMISSION, et al.,                     )
                                             )
              Intervenor Plaintiffs,         )
                                             )
v.                                           )
                                             )
STATE OF ALASKA, et al.,                     )
                                             )
              Defendants.                    )

     AMENDED SCHEDULING AND PLANNING CONFERENCE REPORT

       Per this Court’s May 5 Order, the parties jointly submit the following amended

report, which proposes a schedule for resolving the remaining claims in this action.



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       First, the parties agree that the case can likely be resolved by cross-motions for

summary judgment because the remaining issues are primarily questions of law.

Accordingly, the parties propose that discovery be stayed pending the Court’s rulings on

the forthcoming cross-motions for summary judgment.

       Second, the parties agree that the forthcoming briefs should initially be subject to

the normal page-limit and word-limit rules for briefing. See L.R. 7.4. However, because

the State will be responding to multiple briefs from both the United States and the

Intervenors, the parties recognize that the State is likely to seek leave to file over-length

briefs that address all the arguments made. The United States and the Intervenors do not

anticipate opposing such a motion.

       Third, the parties agree to the following briefing schedule:

 United States’ Motion for Summary Judgment                             July 21, 2023

 Intervenors’ Motions for Summary Judgment                              July 28, 2023

 Alaska’s Combined Opposition to Motions for Summary                    September 1, 2023
 Judgment and Motion for Summary Judgment

 United States’ Reply in Support of Motion for Summary                  September 29, 2023
 Judgment and Opposition to the State’s Motion for Summary
 Judgment

 Intervenors’ Replies in Support of Motions for Summary                 October 6, 2023
 Judgment and Oppositions to the State’s Motion for Summary
 Judgment

 Alaska’s Combined Reply in Support of Motion for Summary               October 27, 2023
 Judgment




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       Fourth, the parties agree that any argument should be scheduled as soon as

possible after briefing concludes in October of 2023 and further agree to respectfully

request that the Court endeavor to issue a ruling on the merits within 90 days of the close

of briefing to facilitate planning and management efforts in advance of the 2024 fishing

season.



DATED: May 18, 2023                            Respectfully Submitted,

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